Case 2:07-cr-02021-EFS   ECF No. 384   filed 03/22/10   PageID.1548 Page 1 of 6
Case 2:07-cr-02021-EFS   ECF No. 384   filed 03/22/10   PageID.1549 Page 2 of 6
Case 2:07-cr-02021-EFS   ECF No. 384   filed 03/22/10   PageID.1550 Page 3 of 6
Case 2:07-cr-02021-EFS   ECF No. 384   filed 03/22/10   PageID.1551 Page 4 of 6
Case 2:07-cr-02021-EFS   ECF No. 384   filed 03/22/10   PageID.1552 Page 5 of 6
Case 2:07-cr-02021-EFS   ECF No. 384   filed 03/22/10   PageID.1553 Page 6 of 6
